            Case: 3:20-cr-00133-wmc Document #: 30 Filed: 07/21/21 Page 1 of 6


                                                                                            DOC NO
                         IN THE UNITED STATES DISTRICT COURT                            q::C 'D/FI LEO
                        FOR THE WESTERN DISTRICT OF WISCONSIN
                                                                                    2021JUL 21 PM 2: 35
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UNITED STATES OF AMERICA                                   SUPERSEDING INDICT©,f~JNTR' US Ol ST ( :-11.i:;; T
                                                                                           WO OF WI
                V.                               Case No. 20-cr-133-wmc
                                                          18 u.s.c. § 1168(6)
LEVA OUSTIGOFF, Jr., a.k.a. DINO,                         26 u.s.c. § 7206(1)

                              Defendant.



THE GRAND JURY CHARGES:

                                         BACKGROUND

1.     At times material to this superseding indictment:

       a.       The St. Croix Casino Turtle Lake was operated by or for or licensed by the St.

Croix Chippewa Indians of Wisconsin pursuant to an ordinance or resolution approved by the

National Indian Gaming Commission.

       b.       Defendant, LEVA OUSTIGOFF, Jr., a.k.a. DINO, was an employee of the St.

Croix Casino Turtle Lake. Beginning in June 2015, he held the position of General

Manager/ CEO of the Turtle Lake Casino in Turtle Lake, Wisconsin. In his capacity as general

Manager/CEO, Oustigoff had the authority to request the disbursement of funds for casino

related business and was a signer on casino bank accounts.

                                            COUNTl

       On or about December 18, 2015, in the Western District of Wisconsin, the defendant,

                              LEVA OUSTIGOFF, Jr., a.k.a. DINO,

being an employee of the St. Croix Casino Turtle Lake, a gaming establishment operated by or

for or licensed by an Indian Tribe, that of the St. Croix Chippewa Indians of Wisconsin,
         Case: 3:20-cr-00133-wmc Document #: 30 Filed: 07/21/21 Page 2 of 6



pursuant to an ordinance or resolution approved by the National Indian Gaming Commission,

embezzled and willfully misapplied approximately $9,500 of money of such establishment.

                  (In violation of Title 18, United States Code, Section 1168(b)).

                                            COUNT2

       On or about February 17, 2016, in the Western District of Wisconsin, the defendant

                              LEVA OUSTIGOFF, Jr., a.k.a. DINO,

willfully made and subscribed a U.S. Individual Income Tax Return, Form 1040, for the

calendar year 2015, which was verified by a written declaration that it was made under the

penalties of perjury, and was filed with the Internal Revenue Service, which said income tax

return the defendant did not believe to be true and correct as to every material matter, in that

on line 21 of Form 1040, the defendant reported other income of $7,101, whereas the defendant

then and there well knew and believed, his other income was greater than that reported.

                 (In violation of Title 26, United States Code, Section 7206(1)).

                                           COUNT3

       On or about April 4, 2016, in the Western District of Wisconsin, the defendant,

                             LEVA OUSTIGOFF, Jr., a.k.a. DINO,

being an employee of the St. Croix Casino Turtle Lake, a gaming establishment operated by or

for or licensed by an Indian Tribe, that of the St. Croix Chippewa Indians of Wisconsin,

pursuant to an ordinance or resolution approved by the National Indian Gaming Commission,

embezzled and willfully misapplied approximately $7,500 of money of such establishment.

                 (In violation of Title 18, United States Code, Section 1168(b)).

                                           COUNT4

       On or about April 29, 2016, in the Western District of Wisconsin, the defendant,

                                                    2
         Case: 3:20-cr-00133-wmc Document #: 30 Filed: 07/21/21 Page 3 of 6



                              LEVA OUSTIGOFF, Jr., a.k.a. DINO,

being an employee of the St. Croix Casino Turtle Lake, a gaming establishment operated by or

for or licensed by an Indian Tribe, that of the St. Croix Chippewa Indians of Wisconsin,

pursuant to an ordinance or resolution approved by the National Indian Gaming Commission,

embezzled and willfully misapplied approximately $1,799 of money of such establishment.

                  (In violation of Title 18, United States Code, Section 1168(b)).

                                            COUNTS

       On or about March 10, 2017, in the Western District of Wisconsin, the defendant

                              LEVA OUSTIGOFF, Jr., a.k.a. DINO,

willfully made and subscribed a U.S. Individual Income Tax Return, Form 1040, for the

calendar year 2016, which was verified by a written declaration that it was made under the

penalties of perjury, and was filed with the Internal Revenue Service, which said income tax

return the defendant did not believe to be true and correct as to every material matter, in that

on line 21 of Form 1040, the defendant reported other income of $7,205, whereas the defendant

then and there well knew and believed, his other income was greater than that reported.

                 (In violation of Title 26, United States Code, Section 7206(1)).

                                            COUNT6

       On or about September 13, 2017, in the Western District of Wisconsin, the defendant,

                             LEVA OUSTIGOFF, Jr., a.k.a. DINO,

being an employee of the St. Croix Casino Turtle Lake, a gaming establishment operated by or

for or licensed by an Indian Tribe, that of the St. Croix Chippewa Indians of Wisconsin,

pursuant to an ordinance or resolution approved by the National Indian Gaming Commission,

embezzled and willfully misapplied approximately $8,599 of money of such establishment.

                                                    3
         Case: 3:20-cr-00133-wmc Document #: 30 Filed: 07/21/21 Page 4 of 6



                  (In violation of Title 18, United States Code, Section 1168(b)).

                                            COUNT7

       On or about October 19, 2017, in the Western Disb:ict of Wisconsin, the defendant,

                              LEVA OUSTIGOFF, Jr., a.k.a. DINO,

being an employee of the St. Croix Casino Turtle Lake, a gaming establishment operated by or

for or licensed by an Indian Tribe, that of the St. Croix Chippewa Indians of Wisconsin,

pursuant to an ordinance or resolution approved by the National Indian Gaming Commission,

embezzled and willfully misapplied approximately $8,599 of money of such establishment.

                  (In violation of Title 18, United States Code, Section 1168(b)).

                                            COUNTS

       On or about October 25, 2017, in the Western District of Wisconsin, the defendant,

                              LEVA OUSTIGOFF, Jr., a.k.a. DINO,

being an employee of the St. Croix Casino Turtle Lake, a gaming establishment operated by or

for or licensed by an Indian Tribe, that of the St. Croix Chippewa Indians of Wisconsin,

pursuant to an ordinance or resolution approved by the National Indian Gaming Commission,

embezzled and willfully misapplied approximately $20,000 of money of such establishment.

                 (In violation of Title 18, United States Code, Section 1168(b)).

                                            COUNT9

       On or about November 27, 2017, in the Western District of Wisconsin, the defendant,

                              LEVA OUSTIGOFF, Jr., a.k.a. DINO,

being an employee of the St. Croix Casino Turtle Lake, a gaming establishment operated by or

for or licensed by an Indian Tribe, that of the St. Croix Chippewa Indians of Wisconsin,




                                                    4
         Case: 3:20-cr-00133-wmc Document #: 30 Filed: 07/21/21 Page 5 of 6



pursuant to an ordinance or resolution approved by the National Indian Gaming Commission,

embezzled and willfully misapplied approximately $8,000 of money of such establishment.

                  (In violation of Title 18, United States Code, Section 1168(b)).

                                           COUNT10

       On or about March 08, 2018, in the Western Disb:ict of Wisconsin, the defendant

                              LEVA OUSTIGOFF, Jr., a.k.a. DINO,

willfully made and subscribed a U.S. Individual Income Tax Return, Form 1040, for the

calendar year 2017, which was verified by a written declaration that it was made under the

penalties of perjury, and was filed with the Internal Revenue Service, which said income tax

return the defendant did not believe to be true and correct as to every material matter, in that

on line 21 of Form 1040, the defendant reported other income of $2,243, whereas the defendant

then and there well knew and believed, his other income was greater than that reported.

                 (In violation of Title 26, United States Code, Section 7206(1)).

                                           COUNT11

       On or about January 18, 2018, in the Western District of Wisconsin, the defendant,

                             LEVA OUSTIGOFF, Jr., a.k.a. DINO,

being an employee of the St. Croix Casino Turtle Lake, a gaming establishment operated by or

for or licensed by an Indian Tribe, that of the St. Croix Chippewa Indians of Wisconsin,

pursuant to an ordinance or resolution approved by the National Indian Gaming Commission,

embezzled and willfully misapplied approximately $8,637 of money of such establishment.

                 (In violation of Title 18, United States Code, Section 1168(b)).

                                           COUNT12

       On or about February 09, 2019, in the Western District of Wisconsin, the defendant

                                                    5
         Case: 3:20-cr-00133-wmc Document #: 30 Filed: 07/21/21 Page 6 of 6



                              LEVA OUSTIGOFF, Jr., a.k.a. DINO,

willfully made and subscribed a U.S. Individual Income Tax Return, Form 1040, for the

calendar year 2018, which was verified by a written declaration that it was made under the

penalties of perjury, and was filed with the Internal Revenue Service, which said income tax

return the defendant did not believe to be true and correct as to every material matter, in that

on Schedule 1, line 21 of Form 1040, the defendant reported other income of $1,921, whereas

the defendant then and there well knew and believed, his other income was greater than that

reported.

                 (In violation of Title 26, United States Code, Section 7206(1)).




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                                                   PRESIDING JUROR

                                                   Indictment returned:   4




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